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 4
     Attorney for Defendant
 5
     ALEXANDER KOKHANETS
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                              SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                        ) Case No. CR S 11 0427 LLK
12
                                                      )
                                      Plaintiff,      )
13
                                                      )
             vs.                                      ) ORDER RE REQUEST FOR WAIVER
14
                                                      ) OF PRESENCE
                                                      )
15
                                                      )
     ALEXANDER KOKHANETS,                             )
16
                                                      )
                                      Defendant.      )
17
                                                      )

18                     Defendant hereby waives the right to be present in person in open court
19   upon the hearing of any motion or other proceeding in this cause, including, but not
20   limited to when the case is ordered set for trial, when a continuance is ordered, and
21   when any other action is taken by the court before or after hearing, except upon
22   arraignment, plea, empanelment of jury and imposition of sentence. Defendant hereby
23   requests the court to proceed during every absence of his which the court may permit
24   pursuant to this waiver; agrees that his interests will be deemed represented at all times
25   by the presence of his attorney, the same as if defendant were personally present; and
26   further agrees to be present in court ready for hearing any day and hour the court may
27   fix in his absence.
28


                                                       1
     Request for Waiver of Presence                                     Case No. CR S 11 0427 LLK
        Case 2:11-cr-00427-TLN Document 72 Filed 11/09/11 Page 2 of 2


 1            Defendant further acknowledges that he has been informed of his rights under
 2   Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times
 3   and delays under the Act without defendant being present.
 4

 5
     Dated:       October 25, 2011             _signature on_____________
 6                                             Defendant, Alexander Kokhanets

 7

 8   Approved: October 24, 2011                      By: __/s/ Joseph J. Wiseman__
                                                     JOSEPH J. WISEMAN
 9
                                                     Attorney for Defendant
10                                                   ALEXANDER KOKHANETS

11

12

13   Dated: October 24, 2011                         Respectfully submitted,

14                                                   WISEMAN LAW GROUP, P.C.
15
                                                     By: __/s/ Joseph J. Wiseman__
16
                                                     JOSEPH J. WISEMAN
17                                                   Attorney for Defendant
                                                     ALEXANDER KOKHANETS
18

19

20

21
     Dated: November 8, 2011                   I approve the above waiver of presence.
22

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                                                 2
     Request for Waiver of Presence                                   Case No. CR S 11 0427 LLK
